                                       UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF MICHIGAN

                                         COVER SHEET FOR AMENDMENTS

Case Name: Moose M. Scheib                                         Case No.: 21-42581


DESCRIBE INFORMATION BEING AMENDED BY CHECKING APPLICABLE BOX(ES) BELOW:

 Amendment to Petition:
           Name  Debtor(s) Mailing Address  Alias
           Signature  Complying with Order Directing the Filing of Official Form(s)
 Summary of Your Assets and Liabilities and Certain Statistical Information
 Statement of Financial Affairs
 Schedules and List of Creditors:
  Schedule A/B
  Schedule C  Debtor 2 Schedule C
  List of Creditors  Schedule D  Schedule E/F and
         Add creditor(s), provide address of creditor already on the List of Creditors, change amount or
           classification of debt ‐ $32.00 Fee Required, or
         Change address of a creditor already on the List of Creditors – No Fee Required
  Schedule G
  Schedule H
  Schedule I
  Schedule J
  Schedule J‐2

    NOTE: Use Page 2 for any corrections or additions to the List of Creditors.
Additional Details of Amendment(s): Amending Schedule C.




      DECLARATION OF ATTORNEY: I declare that the above information contained on this cover sheet may be
       relied upon by the Clerk of the Court as a complete and accurate summary of the information contained in
       the documents attached.
Date                          Signature
October 12, 2021              /s/ Jeffrey H. Bigelman (P61755)
      AFFIRMATION OF DEBTOR(S): I declare under penalty of perjury that I have read this cover sheet and the
       attached schedules, lists, statements, etc., and that they are true and correct to the best of my knowledge,
       information and belief.
Date                          Signature
October 12, 2021              /s/ Moose M. Scheib
Date                          Signature




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                                  CORRECTIONS TO THE LIST OF CREDITORS

Use this section to make corrections to the name(s) and address(es) of any creditor(s) listed on the current
schedules and List of Creditors.

PREVIOUS NAME/ADDRESS OF CREDITOR:                          PLEASE CHANGE TO:




PREVIOUS NAME/ADDRESS OF CREDITOR:                          PLEASE CHANGE TO:




PREVIOUS NAME/ADDRESS OF CREDITOR:                          PLEASE CHANGE TO:




                                    ADDITIONS TO THE LIST OF CREDITORS

Use this section to identify creditors added to the schedules and List of Creditors.

NAME OF CREDITOR:

ADDRESS:



NAME OF CREDITOR:

ADDRESS:



NAME OF CREDITOR:

ADDRESS:


               FOR ADDITIONAL CORRECTIONS/ADDITIONS, COPY THIS SHEET AND CONTINUE.




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